Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 1 of 8 Pageid#: 1
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 2 of 8 Pageid#: 2
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 3 of 8 Pageid#: 3
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 4 of 8 Pageid#: 4
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 5 of 8 Pageid#: 5
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 6 of 8 Pageid#: 6
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 7 of 8 Pageid#: 7
Case 4:11-cv-00009-GEC Document 1 Filed 02/17/11 Page 8 of 8 Pageid#: 8
